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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

     ROGER W. TITUS                                                                    6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                         GREENBELT, MARYLAND 20770
                                                                                              301-344-0052


                                          MEMORANDUM

       TO:            Clerk of the Court; Counsel of Record

       FROM:          Judge Roger W. Titus

       RE:            USA v. Paulette Martin
                      Criminal Case No. RWT-04-235
                      Civil Action No. RWT-12-1588

       DATE:          January 3, 2014

                                            *********
              My chambers received on December 27, 2013, a letter from Defendant Paulette Martin
       dated December 21, 2013. The correspondence is attached to this Memorandum.

               The Defendant is reminded that all filings in this case must be sent directly to the Clerk’s
       Office for docketing, and not sent directly to my chambers.

               In her correspondence, Defendant requests that this Court “not construe [her] . . . Crack
       Cocaine Offense motion as a 28 U.S.C. § 2255 and instead GRANT [her] 120 days to properly
       perfect a proper 28 U.S.C. § 2255 motion to be submitted to this Honorable Court.”

              The Clerk is directed to docket the attached correspondence as a Motion for Leave of 120
       Days to File a 28 U.S.C. § 2255 Motion.

               The Government is directed to respond to Defendant’s Motion for Leave of 120 Days to
       File a 28 U.S.C. § 2255 Motion within 30 days of the date of this Order.

              Despite the informal nature of this ruling, it shall constitute an Order of the Court, and the
       Clerk is directed to docket it accordingly. The Clerk is also directed to mail a copy of this
       Memorandum Order to Defendant.



                                                                   /s/
                                                     Roger W. Titus
                                                     United States District Judge
